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               IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA
                                        No. 16-cr-10343-ADB
    v.
                                     LEAVE TO FILE GRANTED
RICHARD M. SIMON                     ON OCTOBER 15, 2019
                                     ECF #982



            REPLY TO THE UNITED STATES’ RESPONSE
       IN OPPOSITION TO DEFENDANT RICHARD M. SIMON’S
  MOTION FOR NEW TRIAL (RE: COUNSEL’S CONFLICT OF INTEREST)




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                                        INTRODUCTION

       Defendant Richard M. Simon respectfully submits this Reply to the prosecution’s

Response (“Resp.,” ECF #977) to his Supplemental Memorandum in Support of his Motion for

New Trial (re: Counsel’s Conflict of Interest) (“Supp. Mem.,” ECF #974), and as pertinent, the

Affidavit of Steven A. Tyrrell (“Tyrrell Aff.,” ECF #975). Given those filings, certain facts and

principles are beyond dispute:

   •   Insys actively cooperated in the prosecution of Mr. Simon, and therefore, their
       interests were adverse;

   •   When Weil began to represent Insys in restructuring and bankruptcy matters, the
       prosecution did not bring the conflict to the Court’s attention, and the prosecution
       does not dispute the circumstantial inference that it was well aware of Weil’s
       concurrent representation (notably, both the prosecution and Weil have refused to
       provide discovery that would confirm the inference); and

   •   Tyrrell advised Mr. Simon that Weil’s concurrent representation of Insys meant
       “nothing, really” to him; when Mr. Simon raised his concerns following the
       WSJ’s reporting about Weil’s conflict, Tyrrell claimed not to know how Insys
       helped convict Mr. Simon; and Tyrrell still insists that the concurrent
       representation “did not constitute a conflict of interest.”

The prosecution’s argument that Weil’s concurrent representation did not pose a conflict is

contrary both to the law and the position the U.S. Attorney’s Office, itself, has taken in the Varsity

Blues cases. The fact that Tyrrell issued two subpoenas to Insys – “friendly” subpoenas, served

via outside counsel, to obtain innocuous employee expense reports – does not demonstrate that he

could have, as an ethical or business matter, litigated a contested subpoena to pierce Insys’s

assertion of attorney-client privilege over its internal investigation, in order to obtain documents

that would have supported Mr. Simon’s “good faith” defense. Moreover, Tyrrell’s contention that

he secured an informed waiver of the conflict from Mr. Simon makes no sense in light of Tyrrell’s

mistaken belief no conflict even existed.

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        As the verdict demonstrates, Mr. Simon’s good-faith defense rang hollow to the jury in the

absence of strong evidentiary support. The prosecution does not dispute that Weil could have

sought evidence in support of that defense by issuing a subpoena for privileged materials from

Insys’s internal investigation. And the prosecution concedes, as it must, that if Mr. Simon had

argued that his Sixth Amendment right to present a defense overcame Insys’s interest in

maintaining its common-law privilege, the interests of Mr. Simon and Inysys – both Weil clients

– would have been in direct conflict. Accordingly, prejudice is presumed, and Mr. Simon is entitled

to a new trial with conflict-free counsel.

        This Court should allow Mr. Simon’s new trial motion based on the current record, much

of which neither the prosecution nor Weil has disputed and which is more than sufficient to

establish that Mr. Simon was denied his constitutional right to conflict-free counsel at trial. To the

extent that any further evidence may needed to establish that Weil was conflicted and that, as a

result, Mr. Simon was prejudiced, this Court should order Mr. Simon’s requested document

discovery and hold an evidentiary hearing at which Mr. Simon may compel testimony from Tyrrell

and his colleagues at Weil concerning the firm’s concurrent representation of Insys as well as

evidence that the government has been aware, since before the trial in this case, of the conflict

issue but failed to bring it to this Court’s attention.

                                             ARGUMENT

I.      This Court should reject the government’s request to reconsider the Order
        authorizing Mr. Simon’s supplemental memorandum concerning trial counsel’s
        conflict of interest, which is proper and timely.

        On August 6, 2019, this Court issued an Order (ECF #951) permitting Mr. Simon to file a

supplemental memorandum raising the counsel conflict issue as a basis for a new trial. By waiting

until nearly two months after the Order to raise a timeliness objection as part of merits briefing,

Resp. at 2-5, the prosecution has forfeited that argument. See Eberhart v. United States, 546 U.S.

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12, 19 (2005) (confirming that Rule 33 time requirements are “nonjurisdictional” and explaining,

“where the Government failed to raise a defense of untimeliness until after the District Court had

reached the merits, it forfeited that defense”). In any event, as this Court implicitly recognized in

its Order, Mr. Simon timely raised the conflict issue, a species of ineffective assistance of counsel,

under the “excusable neglect” prong of Fed. R. Crim. P. 45(b).

       The 14-day deadline in Rule 33(b)(2) must be read together with Rule 45(b), which

governs extensions of time. See United States v. Munoz, 605 F.3d 359, 367 (6th Cir. 2010); United

States v. Hazelwood, No. 3:16-CR-20, 2018 U.S. Dist. LEXIS 161494, at *15-16 (E.D. Tenn. Sept.

21, 2018); United States v. Green, No. CR 09-311 MCA, 2012 U.S. Dist. LEXIS 190754, at *26-

27 (D.N.M. Feb. 14, 2012). Specifically, “[w]hen an act must or may be done within a specified

period, the court on its own may extend the time, or for good cause may do so on a party’s motion

made . . . after the time expires if the party failed to act because of excusable neglect.” Fed. R.

Crim. P. 45(b)(1)(B); see United States v. Cates, 716 F.3d 445, 448 (7th Cir. 2013) (“Rule 45(b) .

. . generally permits a district court to grant an extension if the defendant can demonstrate that

excusable neglect caused the late filing.”).

       The excusable neglect standard empowers courts, “where appropriate, to accept late filings

caused by inadvertence, mistake, or carelessness, as well as by intervening circumstances beyond

the party’s control.” Munoz, 605 F.3d at 368 (quoting Pioneer Inv. Servs. Co. v. Brunswick

Assocs., 507 U.S. 380, 388, 113 S. Ct. 1489 (1993)). The determination of excusable neglect “is

at bottom an equitable one, taking account of all relevant circumstances surrounding the party’s

omission.” Id. (quoting Pioneer Inv. Servs., 507 U.S. at 395); see also Davila-Alvarez v. Escuela

de Medicina Universidad Cent. de Caribe, 257 F.3d 58, 64 (1st Cir. 2001) (holding the “evaluation

of what constitutes excusable neglect is an equitable determination, taking into account the entire



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facts and circumstances surrounding a party’s omission”). The First Circuit’s “somewhat elastic”

standard, Graphic Communs. Int’l Union, Local 12-N v. Quebecor Printing Providence, Inc., 270

F.3d 1, 5 (1st Cir. 2001), reflects the Supreme Court’s “forgiving attitude toward instances of

‘excusable neglect,’” Pratt v. Philbrook, 109 F.3d 17, 22 (1st Cir. 1997), especially where the

reasons for a brief delay are beyond a party’s control.

       In making that equitable determination, courts consider the factors that the Supreme Court

identified in Pioneer Investment Services: (1) the danger of prejudice to the non-moving party, (2)

the length of delay and its potential impact on judicial proceedings, (3) the reason for the delay,

(4) whether the delay was in the reasonable control of the moving party, and (5) whether the late-

filing party acted in good faith. Munoz, 605 F.3d at 368; see also Green, 2012 U.S. Dist. LEXIS

190754, at *13 (citing 3 Charles A. Wright et al., FED. PRAC. & PROC. CRIM. § 590 (4th ed.)).

       “[C]ourts have long made special allowances for defendants who fail to timely raise

ineffective-assistance-of-counsel claims against lawyers who continue to represent them at the

time those claims would properly have been raised.” Munoz, 605 F.3d at 369 (holding that defense

counsel’s “continuing representation of Munoz during the window for timely filing a Rule 33

motion was a valid reason for the delay, and that the delay was not fairly within Munoz’s control”);

see, e.g., Green, 2012 U.S. Dist. LEXIS 190754, at *26-27 (ruling the defendant’s new trial motion

was timely, because the defendant “could not have been expected to file her motion earlier, given

[defense counsel]’s alleged ineffective assistance of counsel”); United States v. Jensen, No. CR-

08-054-JLQ, 2010 U.S. Dist. LEXIS 101458, at *17, *21-22 (E.D. Wash. Sept. 27, 2010) (ruling

the defendant’s new trial motion was timely, because “any delay [wa]s the result of excusable

neglect occasioned by the ineffective assistance of counsel”); see generally Massaro v. United




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States, 538 U.S. 500, 503 (2003) (recognizing that “an attorney . . . is unlikely to raise an

ineffective assistance claim against himself”).

       Here, the “delay” at issue was less than one week. On July 29, 2019, shortly after the WSJ

ran its article about the apparent conflict arising from Weil’s concurrent representation of Mr.

Simon and Insys, undersigned counsel appeared as defense counsel for Mr. Simon. See ECF #937-

38. On August 1, 2019, Tyrrell and his Weil colleagues withdrew as defense counsel. See ECF

#940-42. Then, only two business days later, on August 5, 2019, Mr. Simon moved for leave to

supplement his pending new trial motion to raise the conflict issue, see ECF #950. On the following

day, this Court allowed that motion. See ECF #951. Mr. Simon and undersigned counsel have

acted in good faith and with reasonable dispatch. The prosecution has not identified any prejudice

from the brief delay or any impact on these proceedings.

       It would be especially inappropriate to bar Mr. Simon from raising this issue because

Tyrrell has never acknowledged – and continues to dispute – Weil’s conflict of interest. Nor did

the prosecution request a Foster hearing, even though it does not deny contemporaneous awareness

of Weil’s concurrent representation of Insys and Mr. Simon. Given those circumstances, the Court

could not address the issue pre-trial and it was a certainty that Tyrrell would not raise a timely

claim of ineffective assistance against himself in support of a new trial motion for his then-client.

       The prosecution’s argument that Mr. Simon had “all the facts necessary to raise this claim

months prior to trial,” Resp. at 5, is incorrect and irrelevant. Although Mr. Simon was generally

aware that Weil was also representing Insys in restructuring or bankruptcy matters, he did not

know – and as a non-lawyer with no experience in the criminal prosecution of corporations, he has

no reason to know – that Insys was actively cooperating in this prosecution against him, or that

Weil’s duty of loyalty and business interests would impair it from taking action adverse to Insys.



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       Mr. Simon did not learn the critical facts concerning the conflict issue, which should have

been readily apparent to Tyrrell and his Weil colleagues, until Mr. Simon read the WSJ article on

or about July 15, 2019. That article reported that Insys had helped to convict Mr. Simon, quoted a

legal scholar who discerned a clear conflict in those circumstances, and reported a statement from

Weil suggesting that it no longer represented Mr. Simon. Mr. Simon’s shock and dismay were

evident in his email to Tyrrell a few days later in which he asked, “Can you please let me know

what is going on?” Supp. Mem., Ex. I.

       The opening line of Tyrrell’s response, “Not sure how the company helped get you

convicted,” id., is puzzling. Tyrrell is Co-Head of Weil’s White Collar Defense, Regulatory, and

Investigations practice. See <https://www.weil.com/people/steven-tyrrell>. He formerly served as

Chief of the Fraud Section in the DOJ’s Criminal Division and as an Assistant United States

Attorney. He is surely familiar with the Yates Memorandum. Insys entered a DPA based on its

substantial cooperation, and the DOJ lauded that cooperation in open court. As the prosecution

itself notes, Resp. at 12, Insys selectively waived its attorney-client privilege and strategically

disclosed inculpatory evidence to help convict Mr. Simon and his co-defendants. In his affidavit,

despite his claim of ignorance, Tyrrell stated: “During trial, . . . the Government repeatedly

represented that it had received inculpatory information from Insys.” Tyrrell Aff., ¶ 30. And

Tyrrell was present at sidebar when Kapoor’s counsel said, “Insys is cooperating with the

Government. Insys is adverse to the defendants at this point.” 2/11/19 Tr. at 19.

       It was only on July 29, 2019 when undersigned counsel appeared and after August 1, 2019,

when Weil withdrew, that Mr. Simon finally had record counsel who were willing and able to raise

the conflict issue in support of his new trial motion.




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II.    Mr. Simon’s testimony is not required to warrant a new trial, but if necessary, he is
       prepared to testify and be cross-examined on relevant issues of fact.

       The prosecution asserts that “Simon’s affidavit is the only evidence Simon provides in

support of his claim of an actual conflict” and, therefore, that his motion “should not be considered

until he” states that “he is willing to submit to cross-examination regarding the facts he has

attempted to put in dispute.” Resp. at 5-8. The prosecution’s predicate proposition is incorrect, and

the cases it cites are inapposite. Moreover, the prosecution does not contest Mr. Simon’s argument,

see Supp. Mem. at 17, that it, not Mr. Simon, “bears the burden of persuasion of demonstrating

that the prejudice to the defendant was improbable,” because the prosecution failed to bring the

concurrent representation to the Court’s attention, which would have permitted a pre-trial Foster

hearing. United States v. Mazzaferro, 865 F.2d 450, 454 (1st Cir. 1989).

       Weil’s conflict of interest and the legal consequences that flow from it are readily

established by documents and other evidence entirely extrinsic to Mr. Simon’s declaration,

including the fact of Insys’s cooperation with the prosecution in this case, Weil’s concurrent

representation of Insys and Mr. Simon, and the engagement letters between Weil and each client.

The only issue as to which Mr. Simon’s testimony might be necessary is the question of whether

he provided requisite “informed consent, confirmed in writing,” Mass. R. Prof. C. 1.7(b)(4), to the

concurrent representation. The Court would need to reach that issue only if it were to reject Mr.

Simon’s argument that the conflict is not waivable. See Supp. Mem. at 23-24. Even then, as Mr.

Simon has already explained, the advance written waiver in the Weil engagement letter is deficient

as a matter of law. See id. at 24-26, and argument infra. And even crediting Tyrrell’s account of

his August 8, 2018 call with Mr. Simon (in which Tyrrell does not deny advising Mr. Simon that

Weil’s concurrent representation of Insys means “nothing, really” to him), it is undisputed that any




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purported oral “informed consent” to the concurrent representation was never confirmed in writing

as the Massachusetts ethics rules require.

       Mr. Simon filed a sworn declaration with his Supplemental Memorandum in an abundance

of caution to provide a full picture to the Court, but his testimony is not necessary to grant a new

trial.1 Nevertheless, if the Court rules otherwise, Mr. Simon is prepared to provide live testimony

subject to cross-examination on relevant, disputed, issues of fact within his personal knowledge.

III.   Weil had a conflict, because it represented both Mr. Simon and Insys, which actively
       cooperated in the prosecution of Mr. Simon.

       The prosecution contends that there was no conflict because “Weil did not represent Insys

in connection to the criminal investigation.” Resp. at 8. But that does not matter, because a lawyer

“may not act as an advocate in one matter against a person the lawyer represents in some other

matter, even when the matters are wholly unrelated.” Mass. R. Prof. C. 1.7, cmt. 6 (emphasis

added); see also Supp. Mem. at 18-23. The prosecution emphasizes that much of the case law on

conflicts arises from situations “where one lawyer represents two clients suing one another,” which

is not the situation here. Resp. at 9. But the fact that direct litigation may be the “most typical

example” of conflict, Resp. at 9, does not exclude other species of conflict that do not involve

litigation, as the plain language of the rules makes clear.2



1
  By contrast, in the cases cited by the prosecution, see Resp. at 5-8, the Court could not grant
relief without crediting the defendant’s testimony. See United States v. Phillipos, 849 F.3d 464,
469 (1st Cir. 2017) (defendant “sought to establish the requisite factual predicate for his motion
[to suppress] solely on the basis of his own affidavit” and did not “identify any additional
evidence.”); United States v. Baskin, 424 F.3d 1, 3 (1st Cir. 2005) (defendant failed to offer
“evidence of either a subjective or an objectively reasonable expectation of privacy in the motel
room, other than his affidavit” to support his Fourth Amendment argument).
2
  The prosecution’s reliance on Hempstead Video, Inc. v. Village of Valley Stream, 409 F.3d 127
(2d Cir. 2005), Resp. at 9, is misplaced because that case concerned the question of whether a



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        Even the government’s jaundiced and narrow reading of the rule to require actual litigation

would support a finding of conflict here: although there was, at the time of Weil’s Insys

engagement, no active litigation between Insys and Mr. Simon, the point is that the concurrent

representation would prospectively prevent Weil from initiating such litigation on Mr. Simon’s

behalf to pierce Insys’ privilege and obtain internal investigation documents. The underlying

principle bears repeating as applied here: even though the two Weil teams may not have entered

battle against each other, Weil’s clients, Insys and Mr. Simon, had powerful adverse interests.

Thus, Weil could not fulfill “the most basic of counsel’s duties” that is, to abide by duty of loyalty

to both clients. Strickland v. Washington, 466 U.S. 668, 692 (1984).

       Ironically, in the Varsity Blues cases, the prosecution argued strenuously that Latham &

Watkins’ concurrent representation of U.S.C. in various unrelated, non-litigation matters posed an

unwaivable conflict precluding its representation of individual Varsity Blues defendants, because

U.S.C. was an alleged victim and/or witness. See United States v. Sidoo, 19-cr-10080-NMG, ECF

#400 at 19-24. The prosecution only backed off this position when Latham terminated its

representation of U.S.C. And even then, the prosecution viewed the ongoing potential for a conflict

as sufficiently grave to propose the following question for a Foster hearing:

       Do you understand that while Latham & Watkins LLP no longer represents USC,
       the firm’s ongoing ethical obligations—including duties of undivided loyalty and




conflict should be imputed to an attorney in an attenuated “of counsel” relationship with a firm.
See id. at 135-136. Hempstead Video, Inc. therefore does not call into question the basic principle,
shared across jurisdictions, that when “lawyers are associated in a firm, none of them shall
knowingly represent a client when any one of them practicing alone would be prohibited from
doing so.” Mass. R. Prof. C. 1.10(a). This rule “gives effect to the principle of loyalty to the client
as it applies to lawyers who practice in a law firm. Such situations can be considered from the
premise that a firm of lawyers is essentially one lawyer for purposes of the rules governing loyalty
to the client, or from the premise that each lawyer is vicariously bound by the obligation of loyalty
owed by each lawyer with whom the lawyer is associated.” Id., cmt. 6.
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       confidentiality—to their former client could still hamper your defense? For
       example, information shared by their former client (i.e., USC) during their
       representation, even if it could exculpate you of the charges, would not be able to
       be used in your defense. Moreover, Latham & Watkins LLP’s duty of loyalty to
       its former client may continue to impact the development or advancement of
       defenses that, while beneficial to you, shift blame onto USC.

See id., ECF #535 at 6. For the government to argue that there is no conflict in this case defies both

clear legal authority and this U.S. Attorney’s own position in other, current, cases. Weil’s conflict

was unwaivable because the concurrent representation was ongoing and “no rational defendant”

in Mr. Simon’s position would “knowingly and intelligently desire” Weil’s representation. United

States v. Schwarz, 283 F.3d 76, 95 (2d Cir. 2002).

IV.    Weil’s conflict adversely affected its performance, because Weil could not – and did
       not – attempt to obtain privileged information from Insys’s internal investigation to
       use in Mr. Simon’s defense and, therefore, could not effectively present a good-faith
       defense based on available evidence.

       In order to trigger the presumption of prejudice, Mr. Simon need only show that trial

counsel “might plausibly have pursued an alternative defense strategy” which “was in conflict

with” counsel’s other “loyalties or interests. United States v. DeCologero, 530 F.3d 36, 77 (1st

Cir. 2008). Neither trial counsel’s actual, subjective thought process nor his advice to the client is

relevant. Nor does it matter whether the alternative “defense would necessarily have been

successful” so long as it “possessed sufficient substance to be a viable alternative.” United States

v. Cardona-Vicenty, 842 F.3d 766, 733 (1st Cir. 2016). Mr. Simon meets that standard here.

       A.      Weil did not subpoena privileged information from Insys’s internal
               investigation, and it could not have moved to compel compliance with such a
               subpoena.

       The prosecution and Tyrrell contend the “Insys engagement letter [ ] permits [Tyrrell] to

act adversely to Insys in connection with the Simon matter . . . Thus, the advance conflicts waiver

in the Insys engagement letter allowed [Tyrrell] and [his] team to seek and obtain discovery from



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Insys leading up to and during Simon’s criminal trial in the event [they] determined [they] needed

to do so.” Resp. at 10 (quoting Tyrrell Aff., ¶ 17). The prosecution and Tyrrell are incorrect.

       The generic, open-ended, advance conflict waiver in the Insys engagement letter is

identical to that in Mr. Simon’s engagement letter, a type of waiver that the Massachusetts Rules

describe as “ordinarily ineffective.” Mass. R. Prof. C. 1.7, cmt. 22; see also Supp. Mem. at 24-27

and authorities cited therein. The waiver is illustrated exclusively with examples of financial

conflicts that provide no notice to Insys that other Weil attorneys might attack its attorney-client

privilege to obtain highly sensitive corporate legal documents concerning an internal investigation

by outside counsel and related advice to the board. Moreover, available evidence shows that Insys

took specific measures from inception of the representation to conceal much less sensitive

information about its legal affairs from Mr. Simon. An August 22, 2018, email thread among

Tyrrell and Weil partners Ronit Berkovich and Gary Holtzer, only recently provided by Weil in

response to follow-up document requests, shows that Insys specifically requested the unusual

provision in its engagement letter: “[Weil] will not, however, inform Mr. Simon of the nature of

the engagement for the Company or of the Weil attorneys responsible for it.” Ex. A; Supp. Mem.

Ex. F.3 Thus, it is implausible to suggest that Insys consented in advance, expressly or implicitly,

to Weil pursuing discovery litigation against Insys to obtain privileged materials for Mr. Simon’s

defense.




3
  Weil did not produce the “Blacklined Insys Engagement Letter” referenced in the email thread,
Ex. A, but the engagement letter provision at issue is obvious from context. Weil has refused to
provide any other communications with Insys about the terms of its engagement or other
understandings between the parties, and the Court should not credit Tyrrell’s interpretation of what
the Insys engagement letter allows without first compelling Weil to disclose such documents.
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       On its face, the advance conflict waiver only applies to adverse matters that are “not

substantially related.” Supp. Mem., Ex. F. That condition is not met here because the bankruptcy

and criminal care closely intertwined, a fact that neither the prosecution nor Weil has contested. It

was the criminal investigation that led to prosecution of Insys and its employees and that triggered

the company’s bankruptcy. The timing of Insys’ plea agreement, only a month after the conviction

of Mr. Simon and his co-defendants, was no coincidence. And the company’s plea agreement

provisions concerning restitution, fine, and the government’s position as an unsecured creditor,

see United States v. Insys Therapeutics, No 19-cr-10191-RWZ, ECF #3, were surely negotiated

with the input of bankruptcy counsel. Perhaps the only reason the government would make such a

concession is that it expects to become the principal owner of Insys after obtaining forfeiture of

Kapoor’s majority stake.

       The prosecution asserts that Tyrrell “served Insys with two document subpoenas” which

“undermines Mr. Simon’s argument.” Resp. at 10. This is a red herring. The two subpoenas in

question were issued with the consent of and served upon Insys’s outside counsel, Geoffrey Hobart

of Covington & Burling, to obtain innocuous business records. On February 3, 2019, Tyrrell

emailed Hobart:

       As you undoubtedly know, the Insys-related criminal trial in Boston is underway.
       Based on exhibits and witnesses the Govt has disclosed, it appears they are going
       to raise certain matters regarding Richard Simon’s (my client) expenses during
       the time he was a Regional Sales Manager. In order to respond, I need copies of
       Mr. Simon’s expense reports and supporting materials for part of the time he was
       a Regional Sales Manager (October 1, 2012, through May 31, 2013). Toward that
       end, we have obtained a subpoena from the court that is returnable next Friday.
       Are you authorized to accept service for the company? If not, I have a process
       server lined up to serve the subpoena in Arizona tomorrow. Please let me know
       how you and the company would like to proceed.

Ex. B. Hobart responded, “I can accept service and I will get the company going on its response.”

Id. Tyrrell then sent the subpoena, which requested production of “Expense Reports and

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Supporting Documents for Richard M. Simon from October 1, 2012 to May 31, 2013.” Ex. C. A

few weeks, later, Tyrrell sent a second subpoena seeking “Expense Reports and Supporting

Documents for Nathan Tyrone Rustin from October 1, 2012, to December 31, 2012.” Ex. D.

Tyrrell’s service of these “friendly,” consensual subpoenas for non-privileged expense reports,

already close to the ethical line of permissible conduct against another Weil client, does not

demonstrate an ability or willingness to cross that line to litigate discovery disputes against Insys

or to attack its attorney-client privilege. See NYCBA Formal Op. 2017-6 at 3-4 (2001) (explaining

that seeking discovery from one client on behalf of another is impermissibly adverse unless “the

subpoenaed client is not burdened and has no objection.”).

       Even if the Weil conflict waiver could be read to permit litigation against Insys, it strains

credulity to suggest that Weil would risk jeopardizing its relationship with the company (and a

bankruptcy engagement many millions of dollars more lucrative than representation of Mr.

Simon), by commencing litigation to pierce the attorney-client privilege protecting the very

internal investigation of alleged misconduct that precipitated the company’s bankruptcy in the first

place. The risk, both actual and perceived, would always remain that Weil might “pull its punches”

in the defense of Mr. Simon to avoid violating its duty of loyalty to Insys, thereby angering and

alienating a major bankruptcy client. Thus, the conflict impaired counsel’s performance.

       B.      As a result, Weil could not present available evidence in support of a good-
               faith defense, and the jury has no reason to accept it.

       An effort to obtain and to use privileged documents concerning Skadden’s internal

investigation of Insys was plainly a potentially viable strategy, one that Weil did not and could not

pursue on Mr. Simon’s behalf. This Court repeatedly recognized the relevance and importance of

the missing privileged internal investigation material, and the Stryker Biotech case demonstrated




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the efficacy of a strategy to obtain and deploy such evidence in defense of a former employee. See

Supp. Mem. at 27-35.

       Mr. Simon need not show that the strategy would have succeeded; the prosecution’s

arguments to the contrary, Resp. at 11-13, confuse the Strickland requirement to prove prejudice

due to ineffectiveness with the presumption of prejudice based on a conflict of interest. See United

States v. Ponzo, 853 F.3d 558, 575 (1st Cir. 2017). Nevertheless, privileged documents from

Insys’s internal investigation likely would have provided strong support for Mr. Simon’s good

faith defense whatever their content. It makes no difference whether Skadden found no criminal

wrongdoing or reported problematic conduct to the Board that the company failed to remediate,

because the very fact of the investigation and Mr. Simon’s reasonable reliance on an expectation

of appropriate legal guidance from the highest levels of the company would have defeated the

prosecution’s allegation of his criminal intent.

       The prosecution contends that there is no prejudice because “Weil provided diligent and

competent representation of Simon and raised a good faith defense, notwithstanding his claims to

the contrary.” Resp. at 11. That argument misses the point entirely, because Tyrrell never even

tried to obtain the critical evidence that could have supported the good faith defense. In his closing,

Tyrrell repeatedly asserted Mr. Simon’s good faith. See, e.g., 5/15/19 Tr. at 53:15-17 (“I want to

close with some remarks about the evidence of his commitment to compliance during his entire

time at the company.”); id. at 62:14-19 (“Now, when Rich started, the actions that he took were in

line with the strategies that were mapped out by the company's leaders and communicated to the

entire sales force, and there’s no evidence that Rich knew or understood that any aspect of those

strategies was illegal. In other words, Rich acted completely in good faith.”); id. at 64:16-19 (“there

was no compliance team in place to tell him what he should or should not do in communicating



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with his team, his seven or eight reps about how to carry out the strategy”); id. at 86:8-13

(“Throughout his time at Insys, Rich repeatedly and consistently tried to do the right thing. He

tried to do it within the system that was in place. He didn’t set that system up. He didn’t decide

what people were hired for compliance, what the resources were. That was above his pay grade.

But he tried to operate within the system.”). But Tyrrell did not have enough evidence to back up

his argument. Further, he did not present any argument based on Insys’s internal investigation. He

could not, because he had no documents or information, nothing concrete to counter his prescient

prediction that his “cynical friend Mr. Wyshak will get up later today and . . . say that these . . .

actions around compliance are a sham and a smoke screen.” Id. at 88:17-20.4

V.     Mr. Simon did not waive the conflict by giving his informed, written consent to Weil’s
       concurrent representation of Insys.

       Contrary to the prosecution’s assertions, Resp. at 13-14, and even crediting everything

Tyrrell says in his affidavit, Mr. Simon did not provide informed consent to Weil’s concurrent

representation of Insys. Further, it is undisputed that Weil failed to confirm any such purported

consent in writing, as the Massachusetts ethical rules require. Tyrrell’s repeated and continuing

insistence that no conflict exists, and his advice that the concurrent representation means “nothing,

really” to Mr. Simon, foreclose any possible argument that Tyrrell supplied sufficient information

for Mr. Simon to intelligently waive that very conflict. See Mass. R. Prof. C. 1.7, cmt. 18

(explaining that informed consent requires explaining to the client all “the relevant circumstances




4
 The prosecution further argues that “Tyrrell did not even know about Insys’ agreement with the
Department of Justice until his associate presented the information to him in August 2018,”
suggesting this disproves “Insys’ cooperation with DOJ affected Simon’s defense.” Resp. at 11.
This is a non-sequitur. Mr. Simon did not argue that the official Insys settlement with DOJ
somehow impaired his defense. Rather, the settlement agreement simply highlighted the adversity
between Insys and Mr. Simon, which would have been obvious to an experienced former
prosecutor such as Tyrrell long before the agreement itself was inked.
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and reasonably foreseeable ways in which the conflict could have adverse effects on the interests

of that client”).

        “Purported waivers of fundamental constitutional rights” — such as the Sixth Amendment

right to conflict-free counsel — “are subject to the most stringent scrutiny.” United States v.

Geittmann, 733 F.2d 1419, 1423 (10th Cir. 1984) (citing In re Bryan, 645 F.2d 331, 333 (5th Cir.

1981)). “Valid waivers not only must be voluntary but must be knowing, intelligent acts done with

sufficient awareness of the relevant circumstances and likely consequences.’” Id. (quoting Brady

v. United States, 397 U.S. 742, 748 (1970). “Because of the potentially grave consequences of the

waiver of fundamental constitutional rights, courts ‘indulge every reasonable presumption against

the loss of constitutional rights.’” Id. (quoting Illinois v. Allen, 397 U.S. 337, 343 (1970)).

        The advance waiver in the January 2017 engagement letter is legally insufficient for the

reasons set forth previously, Supp. Mem. at 24-27, even if the Court credits Tyrrell’s questionable

assertion that he “called Simon’s attention to the conflicts waiver provision and explained the

language to him,” Tyrrell Aff., ¶ 10, and Tyrrell’s even more questionable claim that he “used as

an example the possibility that Weil could be engaged by Insys to provide restructuring advice or

to represent it in bankruptcy.” Id.5 Since even Tyrrell does not suggest that he discussed with Mr.




5
  Contemporaneous documentation and context provide substantial reason to doubt the accuracy
of Tyrrell’s recollection. At the time Mr. Simon executed the engagement letter, he was living with
his family in Costa Rica and communicated with Tyrrell primarily by e-mail. On January 13, 2017,
Tyrrell emailed Mr. Simon: “Attached is our signed engagement letter. As discussed, I realize that
you do not have the equipment to return a signed copy to me. For now, it will suffice if you could
review and confirm via email that (1) the letter is acceptable and (2) you will sign the letter upon
your return to the U.S. and return a signed copy to me.” Ex. E. The next day, Mr. Simon replied:
“I’ve read the agreement and hadn't considered what happens if Insys doesn’t pay the 750K they’ve
committed to. I’ll be more comfortable confirming what you requested once you have received
what you need from Franc regarding my indemnification. Should I be concerned that they don’t



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Simon the possibility that Insys was cooperating against him or the constraints concurrent

representation might impose on Weil’s ability to act adversely to Insys, the discussion was plainly

deficient to effect an intelligent and voluntary conflict waiver. The same is true of the August 2018

call in which Tyrrell minimized the Insys representation, telling Mr. Simon that it means “nothing,

really” to him. Those discussions did not an constitute informed, effective waiver, and regardless,

Weil failed thereafter to confirm any purported consent in writing, as Massachusetts rules require.

VI.    The prosecution is not entitled to discovery of privileged communications beyond
       those already disclosed.

       On September 12, 2019, after Mr. Simon had filed his supplemental memorandum, the

prosecution demanded that Mr. Simon produce “a copy of the materials referenced in paragraph

32 of [his] motion (Doc. 974) and any other documents [ ] reference[d] in [his] papers.” Ex. L.

The referenced paragraph described the entirety of Weil’s production to undersigned counsel:

“over 150 gigabytes of unindexed data, including over 30,000 Weil emails and over 150,000 other

electronic files of various types.” Supp. Mem. at 14, ¶ 32. Undersigned counsel responded:

       We are puzzled by your request. The only privileged communications between
       Weil and Mr. Simon that we have revealed or put at issue are those concerning
       Weil’s representation of Insys, and we have filed with our supplemental


hold their end of the deal up and pay the 750K they committed to?” Ex. F. Tyrrell responded the
same day: “When I spoke with Franc over the holidays, he was clear that the company was
committed up to $750,000. I’d be shocked if they changed their mind. I will send an email and try
to get this nailed down over the weekend.” Ex. G. After further emails concerning indemnification,
on January 17, Tyrrell wrote: “Can you also confirm that you are okay with the engagement letter?”
Ex. H. Mr. Simon responded: “The letter is acceptable and I will sign and return it to you upon
returning to the US.” Ex. I. Nothing in the e-mail exchanges suggests that the pair ever scheduled
a call or communicated orally during this time, much less that they actually discussed the conflict
waiver addendum to the engagement letter. Tyrrell has offered no contemporaneous notes or other
documents to support his self-serving version of events. In response to a request for “[a]ll
documents concerning or comprising the communication(s) in which [Weil] “called Simon’s
attention to the conflicts waiver provisions and explained the language to him,” Ex. J, Weil’s
General Counsel responded: “There are no additional documents. The Tyrrell affidavit, and the
attachments thereto, provide the information necessary to show Mr. Simon was directed to the
conflict waiver provision of the engagement letter.” Ex. K.
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       memorandum all documents of which we are aware comprising or concerning
       those communications.

       There is no basis to suggest Mr. Simon has implicitly waived his attorney-client
       privilege on any other subject. He certainly did not waive his privilege on all
       subjects for all time, and therefore, it is preposterous to suggest that your office
       would be entitled to his entire Weil “client file” (the “materials referenced in
       paragraph 32” of the motion that you request in your email).

Ex L. The prosecution later followed-up with a specific request for “any and all communications

(in any form) with or by Weil regarding Mr. Simon’s communications with Skadden (and its

contactors, subcontractors and so on) or Insys in any capacity that relate to the availability of an

advice of counsel defense,” which the prosecution reprises here, Resp. at 14-18, along with a

demand for “the substance of any communication withheld from the Tyrrell affidavit,” id.,

apparently referring to Tyrrell’s “discussions with Simon about [ ] defense strategy,” Tyrrell Aff.,

¶ 5. The prosecution’s assertion that a privilege waiver entitles it to communications beyond those

already disclosed is unfounded.

       Mr. Simon recognizes that his motion may trigger a waiver of the “attorney-client privilege

to the extent that communications between him and trial counsel are relevant to prove or disprove”

the claim. United States v. Adams, No. 09-cr-40027-FDS, 2015 U.S. Dist LEXIS 99030, *3 (D.

Mass. Jul. 28, 2015) (citing, inter alia, Bittaker v. Woodford, 331 F.3d 715, 720 (9th Cir. 2003)).

However, “the scope of the privilege waiver is a fact-dependent inquiry that must be evaluated in

the context of both the particular [ ] request at issue and the contours of the underlying claim.” Id.

Courts have consistently held that a “court must impose a waiver no broader than needed to ensure

the fairness of the proceedings before it.” Bittaker, 331 F.3d at 720 (collecting cases).

       Apart from communications concerning Weil’s representation of Insys, already disclosed

with Mr. Simon’s Supplemental Memorandum, Mr. Simon has not revealed or put at issue, and

does not intend to reveal or put at issue, any privileged communications about an “advice of

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counsel defense” or other trial strategies. As the cases concerning conflicts of interest and

presumed prejudice make clear, see Supp. Mem. at 16-18, the question is not whether Mr. Simon

and Weil ever discussed certain strategies that Weil declined to pursue. Rather, the issue is that

potentially viable alternative strategies existed in principle, which Weil could not employ due to

its competing duty of loyalty to Insys. For a conflict claim, in contrast to an ordinary ineffective

assistance claim, actual communications that Weil and Mr. Simon may have had about such

alternative strategies, if any, are irrelevant, as is Weil’s subjective decision-making process.

VII.   Mr. Simon is entitled to additional discovery from Weil and the prosecution if the
       Court determines his proof is not yet sufficient to warrant a new trial.

       Mr. Simon has already provided ample documentary support for the Court to grant his

motion for new trial. However, to the extent the Court finds the record lacking, it should order the

government to produce the discovery that Mr. Simon first requested by letter dated July 31, 2019:

       1.      All communications between the government and Insys Therapeutics,
               Inc., its affiliates (including Insys Pharma, Inc.), and its agents (including
               attorneys associated with Weil or Covington & Burling LLP) concerning
               Insys’s restructuring and bankruptcy;

       2.      All communications between the government and Insys, its affiliates, and
               its agents concerning Weil’s representation of Insys or its affiliates in any
               matter;

       3.      All communications between the government and Insys, its affiliates, and
               its agents concerning Insys’s cooperation in this prosecution or the
               investigation of Insys’s employees (including its former employees);

       4.      All communications between the government and Insys, its affiliates, and
               its agents concerning Mr. Simon; and

       5.      All documents and information that Insys, its affiliates, and its agents
               provided to the government concerning Mr. Simon.

       Similarly, the Court should order Weil to produce materials also requested on July 31:

       1.      All communications between Weil and Insys, its affiliates, or its agents
               (including attorneys from Covington & Burling LLP) concerning the


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               government’s criminal or civil investigation of Insys (including Insys’s
               cooperation with that investigation or any related prosecution);

       2.      All communications between Weil and Insys, its affiliates, or its agents
               (including attorneys from Covington) concerning Insys’s negotiation or
               acceptance of the deferred prosecution agreement with the DOJ;

       3.      All communications between Weil and Insys, its affiliates, and its agents
               concerning Mr. Simon;

       4.      All communications between Weil and the Wall Street Journal or any
               other media outlet concerning the firm’s representation of Mr. Simon
               and/or Insys; and

       5.      All documents and information concerning Weil’s analysis of, and
               actions in connection to, any potential conflict between the firm’s
               representation of Mr. Simon in his criminal matter and its concurrent
               representation of Insys in any restructuring, bankruptcy, or other matter.

The requested documents would demonstrate the fact and timing of the government’s awareness

of Weil’s concurrent representation, the nature and extent of Insys’s cooperation against Mr.

Simon, and the interrelationships between the Insys’s restructuring/bankruptcy and the criminal

investigation and prosecution of the company. All such information is potentially exculpatory in

that it would tend to support Mr. Simon’s motion for new trial based upon his counsel’s conflict

of interest. See Ponzo, 853 F.3d at 574 (“The Sixth Amendment guarantees the right to conflict-

free counsel.”).

       Finally, in the unlikely the Court is inclined to find that factual representations in Tyrrell’s

affidavit would defeat Mr. Simon’s legal claims, it should first provide Mr. Simon with the

opportunity to cross-examine Tyrrell under oath.

                                         CONCLUSION

       For the foregoing reasons, as well as those set forth in the defendants’ other post-trial

memoranda, this Court should grant a new trial to Richard Simon.




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                                              Respectfully submitted,

                                              RICHARD M. SIMON

                                              By his attorneys,

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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on October 15, 2019.

                                              /s/ William W. Fick




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